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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                         NO. 4:14-CR-00211-16 DPM

GABRIEL ELLINGTON

                                            ORDER

       Pending before the Court is a motion for issuance of a summons and revocation of

pretrial release (d.e. #369). For good cause shown, the motion for issuance of a summons is

GRANTED. The Clerk is directed to issue a summons to Defendant Gabriel Ellington for

appearance at a hearing before United States Magistrate Judge J. Thomas Ray on June 19, 2015,

at 11:00 a.m. to show cause why his pretrial release should not be revoked.

       IT IS SO ORDERED this 18th day of June, 2015.




                                            UNITED STATES MAGISTRATE JUDGE
